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                          UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                                 Alexandria Division


 VOLKSWAGEN GROUP OF AMERICA, INC.,

                        Plaintiff,


 v.                                                         Civil Action No. 1:20-cv-01437-LO-MSN


 THE UNINCORPORATED ASSOCIATIONS
 IDENTIFIED IN SCHEDULE A,

                        Defendants.



        [PROPOSED] ORDER FOR ENTRY OF A PRELIMINARY INJUNCTION

        Upon consideration of Plaintiff’s Motion for Entry of a Preliminary Injunction and

 memorandum in support of the Motion, it is hereby:

        ORDERED that the Motion shall be, and hereby is, granted; and it is further

        ORDERED that PayPal shall continue to freeze all accounts associated with Defendants

 identified in Schedule A to the Complaint and restrain and enjoin from transfer any monies held

 in such accounts until further ordered by this Court.


        SO ORDERED THIS                 day of                     , 2021.




                                                           Liam O’Grady
                                                           United States District Judge
